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                 EXHIBIT 2
   FILED UNDER SEAL
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                                                               Page 1
                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

                        SAN FRANCISCO DIVISION



    WAYMO LLC,

              Plaintiff,

    vs.                                   No. 3:17-cv-00939-WHA

    UBER TECHNOLOGIES, INC.;

    OTTOMOTTO LLC; OTTO TRUCKING,

    INC.,

              Defendants.

    _____________________________/



          WAYMO & UBER CONFIDENTIAL ATTORNEYS' EYES ONLY



              VIDEOTAPED DEPOSITION OF GREGORY KINTZ

                       SAN FRANCISCO, CALIFORNIA

                       WEDNESDAY, APRIL 26, 2017




    BY:    ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~

    CSR LICENSE NO. 9830

    JOB NO. 2592507



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                                                                Page 50
1            And in that Excel file, I computed                     12:08

2                                                  as               12:08

3    previously discussed.                                          12:09

4        Q   Okay.




11       Q   Okay.   And I -- I just want to clarify.               12:09

12           So, earlier we were looking at                         12:09

                   for the GBr3.                                    12:09

14           Do you recall that?                                    12:09

15       A   Yes.                                                   12:09

16       Q   By                                                     12:09



                                             is that correct?       12:09

19       A   No.    I was computing the --                          12:09

20       Q   Using                                                  12:09

21       A   Yes.                                                   12:10

22       Q   And then there is this number                          12:10



24           Do you see that in paragraph 33?                       12:10

25       A   Yes.                                                   12:10
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                                                                    Page 54
 1               But let me ask you my next question, which             12:13

 2   is:       You also looked at the                                   12:13



 4         A     Correct.                                               12:13

 5         Q     And that was part of your determination as to          12:13

 6   whether or not there was                                           12:13

 7                          correct?                                    12:13

 8               MR. JAFFE:       Objection; form.                      12:13

 9               THE WITNESS:      There is -- as demonstrated by       12:13

10   the information in the                          file, that there   12:13




13               MR. KIM:    Q.    So you could look at the             12:14




16         A     The         information by itself would not            12:14

17   yield enough data to actually produce that                         12:14

18   information.                                                       12:14

19         Q     Why not?                                               12:14

20         A     Because                                                12:14




23         Q     And so you would need to look at                       12:14



                                                     correct?           12:14
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                                                                Page 89
1             THE WITNESS:    No.   With the data that you've       13:55

2    given me right here at this time, with the equipment           13:56

3    that's available to me, I cannot make a determination.         13:56

4             MR. KIM:   Q.   And what would you need to make       13:56

5    that determination?                                            13:56

6        A    I would need to have information that gave me         13:56




13       Q    And the same would be true for Exhibit 1043           13:57

14   that you were just looking at before that?                     13:57

15       A    No.   1043 actually has component information         13:57

16   on it.                                                         13:57

17       Q    Okay.   And what would you need to determine          13:57

18   whether or not the diodes have                                 13:57

19            for the board depicted in Exhibit 1043?               13:57

20       A    Ideally, I would need a way of expanding the          13:57

21   image and                                                      13:58



                      and from that information, computing the      13:58

24   data.                                                          13:58

25            I frequently do that type of analysis in              13:58
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                                                               Page 90
1    graphics programs.   I in particular use a program             13:58

2    called CorelDRAW that allows me to do this type of             13:58

3    detailed point-by-point analysis.                              13:58

4        Q   And that would be for the purpose of                   13:58

5                                                                   13:58

6        A   That's correct.                                        13:58

7        Q   And you didn't do that for the board depicted          13:58

8    in Exhibit 1043; correct?                                      13:58

9        A   That's correct.                                        13:58

10       Q   Okay.                                                  13:58

11           (Document marked Exhibit 1045                          13:58

12            for identification.)                                  13:59

13           MR. KIM:   I have the same question for                13:59

14   Exhibit No. 1045, which bears Bates No. Uber00008610.          13:59

15       Q   Does this exhibit depict                               13:59

16                                                                  13:59

17       A   This document is an assembly document.      So         13:59

18                                                                  13:59

19                                                                  13:59

20                                                                  13:59

21                                                                  13:59

22       Q   So sitting here today, you can't tell me               13:59

23   whether or not the board depicted in Exhibit 1043 has          13:59

24   continuing varying --                                          13:59

25           MR. JAFFE:   1045, I'm assuming you're asking          13:59
